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17                       UNITED STATES DISTRICT COURT
18         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
19

20    JENNY LISETTE FLORES, et al.,          Case No. CV-85-4544-DMG
21                   Plaintiffs,             CLASS ACTION
22          v.
23                                           RESPONSE BRIEF OF AMICI CURIAE TO
      WILLIAM P. BARR, Attorney General      THE AUGUST 2020 INTERIM REPORT OF
      of the United States, et al.,          THE IMMIGRATION AND CUSTOMS
24
                                             ENFORCEMENT JUVENILE
                     Defendants.             COORDINATOR
25

26
27                                           Judge: Hon. Dolly M. Gee

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 2               regarding COVID-19 testing procedures and room allocation
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 3
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 1     RESPONSE BRIEF OF AMICI CURIAE TO THE AUGUST 2020 INTERIM REPORT OF
 2      THE IMMIGRATION AND CUSTOMS ENFORCEMENT JUVENILE COORDINATOR

 3      I.      Introduction
 4
             The ICE Juvenile Coordinator (“JC”) filed an interim report on August 24,
 5

 6   2020 (the “JC Report”) in response to the Court’s April 24, 2020 and August 7, 2020
 7   Orders. See Flores v. Barr, No. 2:85-cv-4544 (DMG) (C.D. Cal. Apr. 24, 2020)
 8
     (“April 24, 2020 Order”) [Doc. # 784]; Flores, No. 2:85-cv-4544 (DMG) (C.D. Cal.
 9

10   Aug. 7, 2020) (“August 7, 2020 Order”) [Doc. # 932]. On August 27, 2020,
11   Government counsel initiated contact with Amici—Aldea - The People’s Justice
12
     Center, RAICES, and Proyecto Dilley—and Class Counsel in an effort to meet and
13

14   confer regarding any disputes between the parties related to the JC Report. Amici
15   invited Government counsel to schedule a telephonic meet and confer, and provided
16
     Government counsel with a written summary of its primary concerns with the JC
17

18   Report so that government counsel had an opportunity to discuss Amici’s concerns
19
     with ICE. Government counsel subsequently responded to Amici’s concerns in
20
     writing, informed Amici that she was not available to meet and confer telephonically,
21

22   and that she would object to any submissions filed by Amici in response to the JC
23
     Report because efforts to meet and confer did not begin until August 27, 2020 and
24
     were initiated by the Government.
25

26           Below, Amici address the Juvenile Coordinator’s August 24, 2020 Report and
27
     document the response provided by Government counsel to each of Amici’s concerns
28

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 1   via electronic correspondence. As of today, August 28, 2020, no resolution to the
 2
     issues presented has been secured.
 3

 4    II.   Summary of Argument

 5          Nothing in Amici’s brief regarding the August 24, 2020 JC Report will surprise
 6
     the Court. The JC Report is marred with the same errors this Court has repeatedly
 7

 8   sought to correct. It is incomplete and non-responsive to this Court’s August 7, 2020
 9   and April 24, 2020 Orders, and the reporting requirements of the Agreement itself. It
10
     confirms that Defendants continue to ignore its obligation to make and record efforts
11

12   to release Class Members; Class Member individual summaries include no
13   personalized information, no information regarding why a child’s proposed parent-
14
     sponsor has been denied discretionary release, and no information regarding danger
15

16   or risk of flight. The JC Report also fails to indicate even a single procedure that ICE
17   has employed to expedite Class Members release from custody. Although this Court
18
     has previously found that FRCs are failing at the “basics” to ensure safe and sanitary
19

20   conditions during the COVID-19 pandemic, ICE has yet to establish regular
21
     saturation testing as recommended by the Centers for Disease Control (“CDC”) and
22
     has failed to confirm that families held in FRCs continue to be housed in individual
23

24   dormitories to ensure social distancing. Lastly, the JC Report once again
25
     mischaracterizes the status of Class Members’ immigration proceedings.
26
            In sum, the JC Report fails to provide this Court with critical information
27

28   relevant to ICE compliance and reveals yet again, through the absence of information,

                                                2
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 1   that the Government has made no progress towards compliance since the last JC
 2
     Report.
 3

 4   III.   The JC Report is incomplete and non-responsive to the Court’s
            Instructions for Issues to Be Addressed in ICE’s Interim JC Reports.
 5

 6             A. The JC Report is non-responsive to the Court’s August 7, 2020
                  Order.
 7

 8          The Court’s August 7, 2020 Order instructed the JC to file an interim report
 9
     detailing “specific explanations for the continued detention of each minor detained at
10
     an FRC beyond 20 days.” August 7, 2020 Order, at *5 (emphasis in original) [Doc.
11

12   # 912]. As detailed below, Amici assert that the JC report fails to document specific
13
     explanations for why 110 Class Members1 remain detained in FRCs.
14
               B. The JC Report fails to provide critical information requested by the
15
                  Court in its April 24, 2020 Order.
16
            The Court’s April 24, 2020 Order ordered the ICE JC to address four separate
17

18   categories of information in her ongoing reports. April 24, 2020 Order, at *20–21
19
     [Doc. # 784]. First, the Court directed the JC to report on the “[m]easures taken to
20
     expedite the release of Class Members to suitable custodians during the COVID-19
21

22   health emergency, including whether ICE is making individualized release
23
     determinations and redeterminations for each Class Member remaining in custody at
24

25
     FRCs longer than 20 days” and the specific reason therefore. Id. As detailed infra,

26
     1
27
       This figure represents the number of Class Members indicated by the JC Report,
     and does not reflect the changes in population at the FRCs that may have occurred
28   since August 24, 2020. JC Report at 2 [Doc. # 932-1]

                                               3
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 1   ICE has failed to provide this information. The information provided by the JC
 2
     regarding the reasons Class Members remain in custody reflects an identical cut and
 3

 4   paste explanation for 71 of 83 individual Class Members reflected in Attachment A

 5   to the JC Report and the information provided to the Court is more or less identical
 6
     to the information previously provided to the Court by the JC on May 15, 2020 [Doc.
 7

 8   # 788-1], June 10, 2020 [Doc. # 813-1], and July 24, 2020 [Doc. # 882-1]. See August
 9   24, 2020 JC Report [Doc. # 932-1].
10
           Second, the JC was ordered to report on the “status of ICE’s implementation
11

12   of its COVID-19 guidances,” and “[i]dentify the location of any ICE facility that has
13   had any individual, whether detainee or staff member, test positive for COVID-19,
14
     and provide a status report and census of those infected at that facility during the
15

16   reporting period.” April 24, 2020 Order, at *21 [Doc. # 784]. The JC Report fails to
17   clarify how, if at all, COVID-19 policies and practices at each FRC have changed
18
     since the JC’s July 24, 2020 report. While the JC has provided numbers related to
19

20   COVID infection at each facility, Amici question the reliability of these numbers
21
     based upon ICE’s failure to conduct saturation testing since June 23 and 24, 2020 as
22
     recommended by the CDC for congregate care facilities.2 See Interim Report on
23

24

25   2
       See Centers for Disease Control and Prevention, Testing Guidelines for Nursing
26   Homes,               https://www.cdc.gov/coronavirus/2019-ncov/hcp/nursing-homes-
27
     testing.html (last updated July 21, 2020) (recommending “expanded viral testing of
     all residents in the nursing home if there is an outbreak in the facility”).
28   .

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 1   COVID-19 by Independent Monitor (June 25, 2020) [Doc. # 827]. To the extent the
 2
     JC report identifies the number of individuals who are currently detained at the FRCs
 3

 4   who have tested positive for COVID-19, that information is insufficient to satisfy the

 5   Court’s order to provide a “census of those infected at the facility.” April 24, 2020
 6
     Order, at *21 [Doc. # 784]. The JC Report further fails to explain whether the
 7

 8   individual detained in Dilley indicated as symptomatic by ICE is a child or a parent
 9   and provide a “status report” on that individual, including information such as where
10
     they are being treated, and, if the individual is an adult, who is caring for the child
11

12   while the mother is sick. See JC Report at 5–6 [Doc. # 832-1].
13         Third, the JC was ordered to report the “specific reasons” Class Members
14
     detained in a congregate care facility with reported COVID-19 positive tests “have
15

16   not been released or transferred to a non-congregate setting.” April 24, 2020 Order,
17   at *21 [Doc. # 784]. There are confirmed positive tests at both the Dilley and Karnes
18
     FRCs, and the JC offers no explanation for why the Class Members detained in each
19

20   facility have not been transferred to a non-congregate setting. The JC Report
21
     reiterates the same explanation provided in the July 2020 Interim Report: Class
22
     Members remain detained in COVID-19-infested facilities because (1) “they are
23

24   either in quarantine or cohorting based on CDC guidance as a result of testing positive
25
     for COVID-19” or (2) they are detained with their parent “whose release is not
26
     appropriate.” JC Report at 5–6 [Doc. # 932-1]; see also July 2020 JC Report at 8–9
27

28   [Doc. # 882-1]. These explanations are non-responsive to the Court’s ask. First, as

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  1   explained further in Section IV.B below, the fact that an individual must be
  2
      quarantined or cohorted does not require them to remain in ICE custody. Second,
  3

  4   while the JC Report argues that the waiver protocol before the Court explains the

  5   failure to provide the Court with additional information, this explanation is
  6
      insufficient because: (1) ICE is the reason no protocol currently exists; (2) ICE can
  7

  8   detain parents and children together in non-congregate care settings; and (3) ICE can
  9   always exercise its discretion under Section 212(d)(5)(A) of the Immigration and
 10
      Nationality Act to release families together—which Amici contend is particularly
 11

 12   warranted during the humanitarian crisis presented by the COVID-19 pandemic.
 13         Lastly, the Court ordered the JC to “[d]escribe any policies and/or practices
 14
      aimed at identifying and protecting minors who are at heightened risk of serious
 15

 16   illness or death should they contract COVID-19.” April 24, 2020 Order, at *21 [Doc.
 17   # 784]. This JC Report, like the prior one, was also non-responsive to this question.
 18
      See July 2020 JC Report [Doc. # 882-1]; Amicus Br. at 10–11 (Aug. 6, 2020)
 19

 20   (describing same deficiency in the July 2020 JC Report). Amici assert information
 21
      provided by the JC should have included, but not been limited to:
 22

 23            ● Details regarding how medical staff evaluate whether a child or
                 accompanying parent is at heightened risk of serious illness or death
 24
                 should they contract COVID-19;
 25            ● How medical staff monitor the health status of individuals who are
 26
                 determined to be particularly vulnerable to COVID-19 over time;
               ● What additional housing, scheduling, testing, evaluation, or
 27              quarantining procedures ICE utilizes to provide extra protections to
 28

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  1               individuals with medical conditions that make them vulnerable to
  2               COVID-19; and
                ● How medical assessments and findings are provided to and considered
  3               by ICE to facilitate ongoing release determinations.
  4         None of this information was provided in this iteration of the JC’s report, and
  5
      it should have been, per this Court’s prior order.
  6

  7             C. The JC Report fails to include information required by Paragraph
                   28A of the FSA.
  8

  9         Paragraph 28A of the Agreement requires the Juvenile Coordinator to report
 10
      statistical information, including: (1) a minor’s name, date of birth, and country of
 11
      birth, (2) the date a minor was placed in custody, (3) the date a minor was placed,
 12

 13   removed or released, (4) to whom and where a minor was placed, transferred,
 14
      removed or released, (5) a minor’s immigration status, and (6) a minor’s hearing
 15
      dates. In addition, the Juvenile Coordinator is required to report information
 16

 17   regarding the reasons a minor has been placed in a medium security facility. The JC’s
 18
      Report does not include the following pieces of information, as required3:
 19

 20             1. Date a minor was placed in custody, as relevant to the total number of
 21                days each Class Member has been detained;
 22
                2. Date a minor was placed, removed, or released, which is necessary for
                   the Court to determine whether the amount of time each child has spent
 23

 24
      3
 25
        Although Paragraphs 28A and 29 of the FSA require reporting on a semi-annual
      basis, the Court has ordered reporting with additional frequency and these data points
 26   should therefore be included in the JC's interim reports. To the extent the Government
 27
      argues, or Court believes, these statistics were not mandated by the Court’s recent
      Orders, Amici suggest the Court consider making these additional pieces of
 28   information required in future interim reports.

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  1                 in custody prior to release or removal reflects compliance with the
  2                 Agreement;
               3.   With whom and where a minor was placed, transferred, removed, or
  3
                    released, information that will aid the Court in monitoring whether ICE
  4                 has, or will, separate Class Members from their parents and place them
  5                 with other adult sponsors;
  6            4.   A minor’s immigration status, which is relevant to the Court’s ongoing
                    assessment of whether ICE continues to base its release determinations
  7
                    on a child’s immigration status;
  8            5.   A minor’s hearing dates, if any, which would inform the Court regarding
  9                 whether a minor’s “immigration proceedings are concluded” as relevant
                    to Paragraph 19 of the Agreement; and
 10
               6.   The reasons for placing each minor in a secure facility4, reasons the
 11                 government is required to explain to every Class Member in writing
 12                 pursuant to Paragraph 24C of the Agreement, and has failed to do.
 13

 14   IV.   The JC Report Contains Deficiencies that Have Plagued Prior JC Reports
 15         that Remain Unaddressed.

 16         While the JC Report remains unresponsive to various provisions of this Court’s
 17
      prior orders, of particular concern to Amici is the JC Report’s failure—yet again—to
 18

 19   indicate that ICE is appropriately “making and recording” efforts to release Class

 20   Members; making efforts to release Class Members during the COVID-19 pandemic;
 21
      correct mischaracterizations of Class Members’ immigration status; and describe
 22

 23   steps taken at the FRCs to address the spread of COVID-19. Amici have previously

 24   alerted the Court as to these deficiencies in their prior amicus filings in response to
 25
      the June and July 2020 ICE JC Reports. See Amicus Br. (June 25, 2020) [Doc. #
 26
 27   4
        All determinations to place a minor in a secure facility must be reviewed and
 28   approved by the regional Juvenile Coordinator. FSA ¶ 23.

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  1   826]; Amicus Br. (August 6, 2020) [Doc. # 903].
  2
               A. The JC Report Again Indicates Incomplete Efforts to Make and
  3
                  Record Efforts to Release Class Members Pursuant to Paragraph
  4               18 of the FSA and This Court’s Orders.
  5
            Amici raised this concern to Government counsel. In response to this concern,
  6
      Government counsel indicated that “It is not clear what Amici are asking Defendants
  7

  8   to do here. Please identify precisely what you are asking Defendants to do with regard
  9
      to this concern.” Government counsel also stated that “Parents are not Class Members
 10
      and are not covered under the FSA. If you contend that Defendants are required to
 11

 12   report this information in conjunction with the Flores litigation please explain the
 13
      basis for your contention.”
 14
            As detailed in Amici’s concurrently filed August 28, 2020 brief addressing
 15

 16   proposed remedies, Amici urge the Government to make and record efforts towards
 17
      release that provide specific explanations as to why Class Members remain in
 18

 19
      custody—as is its obligation under the Flores Settlement Agreement (“FSA” or

 20   “Agreement”). See FSA ¶ 18. Every day, the Government makes and records efforts
 21
      to expeditiously release unaccompanied children from the care and custody of the
 22

 23
      Office of Refugee Resettlement (“ORR”). See, e.g., ORR Juvenile Coordinator

 24   Report (July 1, 2020) [Doc. # 837-3]. The Court has expressed no qualms with the
 25
      procedure for reunification described in the ORR Juvenile Coordinator’s Annual
 26
 27   Report. See August 7, 2020 Order (raising no issues with ORR’s process and

 28

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  1   requesting only explanations for delays in fingerprinting and home studies for Class
  2
      Members in ORR custody). The Government therefore has multiple examples of the
  3

  4   type of information that is necessary and appropriate to provide the court when

  5   documenting why Class Members remain detained.
  6
                      1. The JC Report fails to provide “specific explanations for the
  7
                         continued detention of each minor detained at an FRC beyond 20
  8                      days.”
  9
            As Amici have previously raised, the Government continues to be deficient in
 10
      its obligations under Paragraphs 14 and 18 of the FSA. As previously noted,
 11

 12   Attachment A to the JC Report contains primarily cut and paste explanations for each
 13
      Class Members’ continued custody. See JC Report [Doc. # 932-1].5 ICE is required
 14
      to provide specific, individualized determinations for why each minor remains in ICE
 15

 16   custody. See August 7, 2020 Order [Doc. # 912]; Flores, No. 2:85-cv-4544 (DMG)
 17
      (C.D. Cal. June 26, 2020) (“June 26, 2020 Order”). The generic explanation provided
 18

 19
      for each Class Member simply does not meet the requirements set by the FSA:

 20               This minor may be eligible for individual release if the
 21
                  parent designates a caregiver to whom the minor can be
                  released. As of today, a parent has not designated a
 22               caregiver or requested that the minor be released
 23
                  separately from her or him. ICE will determine the minor’s
                  eligibility for release with the consent of a parent or
 24               guardian in accordance with any future order or decision
 25               issued by the court. The minor has final order of removal
                  but cannot be removed at this time because the
 26
      5
 27
       To the extent that more expansive explanations were provided in Exhibit A to the
      JC Report, those explanations are not available to Amici, despite each organization
 28   being immigration counsel for Class Members at Berks, Dilley, and Karnes.

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  1                minor/family unit is subject to an administrative stay of
  2                removal issued by the U S. District Court for the District of
                   Columbia on 07/23/20 in D A.M. v. Barr.
  3

  4   JC Report, Attachment A [Doc. # 932-1].

  5         As Amici have previously stated, ICE has credited the parents’ failure to
  6
      separate from their child as the reason for Class Members’ continued detention. See
  7

  8   Amicus Br. at 8 (June 25, 2020) [Doc. # 826]. The blanket explanations included in
  9   the JC Report are not sufficient justifications for each child’s continued detention,
 10
      which must instead be specific, individualized, and related to the criteria in Paragraph
 11

 12   14 of the FSA. See April 24, 2020 Order, at *20–21 [Doc. # 784]; Flores, No. 2:85-
 13   cv-4544 (DMG), at *3 (C.D. Cal. May 22, 2020) [Doc. # 799]; June 26, 2020 Order,
 14
      at *5 [Doc. # 833].
 15

 16                   2. The JC Report fails to include explanations of why ICE’s
                         discretion is not being exercised to release the Class Member
 17
                         along with their accompanying parent, as is required by the FSA
 18                      and related regulations.
 19
            As more thoroughly explained in Amici’s concurrently filed brief addressing
 20
 21   this Court’s call for proposed remedies to the Government’s breach of the FSA, the
 22   Government has failed to comply with the mandate in Paragraph 18 of the FSA to
 23
      “make and record” efforts to release Class Members. Although the Government
 24

 25   contends that it does not need to consider the release of the accompanying parent
 26   when evaluating the release of a Class Member, this position is inconsistent with the
 27
      FSA’s inherent focus on family unity and the Government’s concurrent obligations
 28

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  1   to comply with 8 C.F.R. § 1236.3. See Defs.’ Opp. to Mot. to Enforce Settlement of
  2
      Class Action ECF. No. 919 [Doc. # 923].
  3

  4         The Flores Settlement Agreement is a legally binding contract that enshrines

  5   a Class Member’s right to family unity, prompt release, and the opportunity to be
  6
      released to and with their parents in the first instance. FSA ¶¶ 11, 19. The JC Report’s
  7

  8   failure to include any determination as to whether a Class Member could be released
  9   to their accompanying parent, and if not why not, flies in the face of the
 10
      Government’s mandatory duties to “make and record” efforts at release under the
 11

 12   FSA and to consider release to a parent—even if that parent is detained—under 8
 13   C.F.R. § 1236.3.
 14
                      3. The JC Report fails to explain the ongoing nature of Class
 15
                         Members’ required individualized assessments.
 16
            Each ICE JC interim report has included cursory information regarding the
 17

 18   reasons for each Class Members’ detention at an FRC beyond 20 days. However, the
 19
      JC Report—in this iteration or in prior iterations—fails to describe the frequency
 20
      with which each Class Member’s custody is being reevaluated. Paragraph 18 of the
 21

 22   Agreement requires the Government to engage in “prompt and continuous efforts . . .
 23
      towards family reunification and the release of the minor.” (emphasis added). To the
 24
      extent to which the Government is in fact compliant with this directive remains
 25

 26   unknown, though based upon the similar and repetitive nature of ICE’s justifications
 27
      for each Class Members’ continued detention, Amici question whether the
 28

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  1   Government is at all consistently evaluating Class Members for release and
  2
      continually collecting and considering new information relevant to the decision to
  3

  4   prolong a child’s detention, such as their physical and mental health or the physical

  5   and mental health of their parent (which would impact the parent’s ability to care for
  6
      their child in custody).
  7

  8                    4. The JC Report fails to include specific information regarding
                          Class Members’ determinations of flight risk or danger to
  9
                          themselves or others.
 10
            Once again, the JC Report fails to appropriately determine whether or not
 11

 12   individual Class Members are flight risks or dangers to the community, as required
 13
      by Paragraph 14 of the FSA. See also Amicus Br. at 5, 11 (June 25, 2020) (explaining
 14
      that incorrect determinations that a minor will be removed on the “next flight” or
 15

 16   their involvement in federal litigation were improper bases on which to qualify a
 17
      child as a “flight risk”) [Doc. # 826]; Amicus Br. at 4–6 (Aug. 6, 2020) (explaining
 18

 19
      the July 2020’s deficiency with regards to providing specific explanations for a Class

 20   Members’ determination of flight risk or danger) [Doc. # 903].
 21
            Release information included in the JC Report also indicates that the
 22

 23
      Government continues to use Class Members’ immigration status as the primary

 24   basis for detention or release determinations. As highlighted further below, Amici’s
 25
      internal tracking reflects what the JC Report does not: that the releases included in
 26
 27   the reporting period were consistent with ICE’s continued policy of releasing Class

 28

                                               13
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  1   Members only when they were in certain procedural postures. The Government’s
  2
      failure to conduct individualized analyses as to Class Members’ flight risk or danger
  3

  4   to the community pursuant to Paragraph 14 of the FSA flies in the face of this Court’s

  5   prior orders requiring ICE to provide individualized determinations for each Class
  6
      Member that do not merely categorize them under broad categories such as “pending
  7

  8   IJ hearing/decision,” “participants in class litigation,” or “pending USCIS response.”
  9   April 24, 2020 Order, at *18 [Doc. # 784]. Although the words in the JC Report’s
 10
      explanations may have been modified, the stagnant nature of Class Members’
 11

 12   detention and ICE’s failure to include unique information specific to each Class
 13   Member indicates that the Government does, in fact, continue to inadequately “assess
 14
      minors’ flight risk, according to the FSA’s general policy favoring release.” Id. And
 15

 16   it bears repeating that this Court has been clear that “a final order of deportation
 17   cannot be the dispositive consideration if removal is not ‘imminent’ . . . and there are
 18
      no other indicia of a minor’s flight risk.” Id. (citing FSA ¶ 14) (emphasis added).
 19

 20             B. The JC report again fails to explain ICE’s “measures . . . to expedite
                   the release of Class Members to suitable custodians during the
 21
                   COVID-19 health emergency.”
 22

 23
            When this concern was raised to the Government, government counsel stated:

 24   “It is not clear what Amici are asking Defendants to do here. Please identify precisely
 25
      what you are asking Defendants to do with regard to this concern.”
 26
 27         This Court ordered the government to “expedite” release of all Class Members

 28

                                                14
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  1   during the COVID-19 pandemic. June 26, 2020 Order [Doc. # 833]; April 24, 2020
  2
      Order at *18 (ordering the Government to “make every effort to promptly and safely
  3

  4   release Class Members”). In other words, ICE has been ordered to move as quickly

  5   as possible in releasing Class Members to ensure their safety from congregate care
  6
      facilities, indicating a sense of urgency and a heightened burden to release Class
  7

  8   Members promptly. Instead, the government has (1) established a mandatory 14-day
  9   detention policy for all Class Members and (2) continued to maintain a release policy
 10
      premised almost exclusively on the procedural posture of Class Member’s
 11

 12   immigration status. See April 24, 2020 Order, at *18 (finding the Government’s
 13   broad categorizations of a Class Members’ procedural posture insufficient to explain
 14
      their continued detention).
 15

 16         Based upon Amici’s observations and work with Class Members at the FRCs,
 17   no efforts have been made to expedite the release of Class Members. Indeed, the JC
 18
      Report fails to identify a single new mechanism ICE has put in place to expedite
 19

 20   release for children. As of this filing, 78 children that Amici are tracking have been
 21
      detained over 20 days. Of those children, 2 have been detained between 20 and 100
 22
      days; 20 have been detained between 101 and 200 days; 3 have been detained
 23

 24   between 201 and 300 days; and a staggering 46 have been detained for more than
 25
      300 days.6
 26
 27   6
        Amici do not have the benefit of complete data due to persistent access to counsel
 28   issues at the FRCs, therefore full numbers are known only to ICE.

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  1         Rather than expediting release for Class Members, the Government has done
  2
      the exact opposite—establishing a new mandatory detention policy that requires that
  3

  4   any family placed at an FRC be placed in quarantine, and not released, for 14 days.

  5   JC Report at 5–6 [Doc. # 932-1]. The sole justifications for detention of Class
  6
      Members under the FSA are flight risk and danger. FSA ¶ 14. As this Court has
  7

  8   found, the “house is on fire” at the FRCs, and detaining children there is akin to
  9   leaving them in a burning building. June 26, 2020 Order, at *2 [Doc. # 833]. Since
 10
      the Court’s June 26, 2020 finding, the situation has only deteriorated at the FRCs,
 11

 12   with now more than 130 reported positive cases of COVID-19 among staff and
 13   detained parents and children at the FRCs.7
 14
            Detention exacerbates the risk of contagion for Class Members and is not
 15

 16   necessary to keep Class Members or the community protected from COVID-19. As
 17   ICE is aware, the City of San Antonio and numerous NGO’s have worked together
 18
      to create safe, private locations for families to quarantine with access to medical,
 19

 20   food, clothing, and other necessities in San Antonio. The hotel rooms and Airbnb’s
 21
      contracted for this purpose provide families with an opportunity to quarantine alone,
 22
      if needed, free     from detention. ICE’s mandatory detention policy is
 23

 24   counterproductive to keeping Class Members safe, and the exact opposite of what
 25

 26
      7
 27
       See Amicus Br. at 27–28 (Aug. 6, 2020) [Doc. # 903] (summarizing reports of
      COVID-19 at the FRCs reported by the Government in O.M.G. v. Wolf, No. 1:20-cv-
 28   786-JEB (D.D.C. Mar. 21, 2020)).

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  1   this court has ordered—that children be released “with all deliberate speed.” June 26,
  2
      2020 Order, at *4 [Doc. # 833].
  3

  4         The Government also continues to use Class Members’ immigration status as

  5   the guiding factor for release determinations. The JC Report indicates that since July
  6
      22, 2020, 126 children have been released from custody into the United States, 21
  7

  8   children have been removed, and 3 children have been returned under Title 42
  9   proceedings. JC Report at 2–3 [Doc. # 932-1]. ICE offers these statistics as proof that
 10
      ICE is expeditiously releasing children, and doing so in accordance with the Court’s
 11

 12   orders.
 13         Amici disagree with the rosy picture the Government attempts to paint, and
 14
      remind ICE of its obligations to provide the Court with additional clarifying data in
 15

 16   future reports regarding: (1) the procedural posture of each Class Member upon
 17   release from detention, (2) the exact number of days each child has been in custody
 18
      moving forward, and (3) the facility at which each Class Member is detained. See
 19

 20   FSA ¶ 28A. Absent this additional data, the Court cannot determine whether or not
 21
      the Government is expeditiously releasing Class Members consistent with its duty to
 22
      release Class Members “with all deliberate speed” or merely releasing Class
 23

 24   Members based on the status of their immigration proceedings. See June 26, 2020
 25
      Order, at *4 [Doc. # 833]
 26
 27

 28

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  1            C. The JC Report once again mischaracterizes the immigration status
  2               of multiple Class Members and falsely indicates that removal is
                  imminent for Class Members, when it is not.
  3

  4         When raised to Government counsel, counsel responded: “Defendants
  5
      disagree with your statement. The ER orders for the Petitioners in D.A.M. are final
  6
      orders. It is not clear what Amici are asking Defendants to do here. Please identify
  7

  8   precisely what you are asking Defendants to do with regard to this concern. Please
  9
      also explain whether it is your contention that any of these minors is requesting to be
 10
      released separately from his or her parent.”
 11

 12         The ICE JC report indicates that 71 Class Members are detained because they
 13
      have a final order of removal, when they, in fact, do not. JC Report, Attachment A
 14
      [Doc. # 932-1]. These specific Class Members were issued negative credible fear
 15

 16   determinations—a prerequisite for an expedited order of removal becoming final—
 17
      based upon the Safe Third Country Transit Bar. In CAIR Coalition v. Trump, Judge
 18

 19
      Kelly vacated the STCTB regulation in its entirety as it was unlawfully promulgated

 20   in violation of the Administrative Procedure Act, specifically denying the
 21
      Government’s requests for remand without vacatur, a stay of vacatur and limitation
 22

 23
      of relief to the Plaintiffs in that case. Capital Area Immigrants’ Rights (CAIR)

 24   Coalition v. Trump, No. 1:19-cv-2117-TJK, Doc. 72 (D.D.C. June 30, 2020); I.A. v.
 25
      Barr, No. 1:19-cv-2530, Doc. 55 (TJK) (D.D.C. June 30, 2020). As a result, both the
 26
 27   negative credible fear determinations issued to each Class Member and the

 28

                                                18
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  1   subsequent affirmance by the Immigration Judge in each case are based upon an
  2
      incorrect (and far more difficult to meet) legal standard and the orders of expedited
  3

  4   removal themselves are void. Amici argue that by operation of law each Class

  5   Member has been returned to the status quo ante and does not have a final order of
  6
      expedited removal, ICE lacks legal authority to remove any of these Class Members
  7

  8   absent the legal process to which they were originally entitled (a new credible fear
  9   interview under the correct legal standard followed by a credible review proceeding
 10
      before an Immigration Judge if the finding is negative), and removal of each Class
 11

 12   Member is therefore not imminent.
 13         These arguments form the basis of the litigation currently pending before
 14
      Judge Christopher R. Cooper of the District Court for the District of Columbia in
 15

 16   D.A.M. v. Barr. D.A.M. v. Barr, No. 1:20-cv-1321, ECF 26 (D.D.C. July 9, 2020).
 17   Although ICE disagrees with Amici’s position here, Amici assert that ICE nonetheless
 18
      has an obligation to provide more information regarding the imminence of each Class
 19

 20   Member’s removal in its report to the Court and that a simple statement that “The
 21
      minor has final order of removal but cannot be removed at this time because the
 22
      minor/family unit is subject to an administrative stay of removal issued by the U.S.
 23

 24   District Court for the District of Columbia on 7/23/20 in D.A.M. v. Barr” is
 25
      misleading, inaccurate, and insufficient for the Court to ascertain whether the
 26
      government’s explanation sufficiently justifies detention. As this Court has already
 27

 28   explained, participation in litigation alone cannot be the only justification for a Class

                                                 19
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  1   Member’s detention. April 24, 2020 Order, at *18 [Doc. # 784].
  2
                D. The JC Report yet again fails to confirm critical information
  3
                   regarding COVID-19 testing procedures and room allocation
  4                policies at each FRC.
  5
            In response to the above concern raised by Amici, Government counsel replied:
  6
      “It is not clear what Amici are asking Defendants to do here. Please identify precisely
  7

  8   what you are asking Defendants to do with regard to this concern” and “[p]lease
  9
      provide specific facts (as opposed to rumors) about which you are requesting a
 10
      response.” The statistics clarify that the FRCs remain unsafe and sanitary. Since the
 11

 12   inception of this motion to enforce, 76 detained individuals (including at least 2 Class
 13
      Members currently detained at Dilley)8 and 70 workers at FRCs have tested positive
 14
      for COVID-19.9 This data is not reliable because ICE continues to fail in its duty to
 15

 16   conduct ongoing meaningful COVID-19 testing at each facility.             Amici assert
 17

 18
      8
        See JC Report, at 5 [Doc. # 932-1].
 19   9
         As previously noted, this information is a result of the COVID-19 positive
 20   disclosures required in O.M.G v. Wolf, No. 1:20-cv-786-JEB (D.D.C. June 25, 2020):
      Doc. # 69 (June 26, 2020), Doc. # 70 (June 28, 2020), Doc. # 73 (June 29, 2020),
 21
      Doc. # 75 (July 1, 2020), Doc. # 77 (July 2, 2020), Doc. # 79 (July 5, 2020), Doc. #
 22   80 (July 7, 2020), Doc. # 81 (July 9, 2020), Doc. # 82 (July 9, 2020), Doc. # 86 (July
 23
      12, 2020), Doc. # 90 (July 15, 2020), Doc. # 93 (July 18, 2020), Doc. # 95 (July 20,
      2020), Doc # 97 (July 22, 2020), Doc. #104 (July 24, 2020), Doc. # 105 (July 27,
 24   2020), Doc. #108 (July 29, 2020), Doc. #110 (Aug. 3, 2020), Doc. # 111 (Aug. 4,
 25
      2020), Doc. # 112 (Aug. 6, 2020), Doc. # 117 (Aug. 13, 2020), Doc. # 118 (Aug. 14,
      2020), Doc. # 119 (Aug. 17, 2020), and Doc. # 120 (Aug. 9, 2020). The true number
 26   of how many individual children and adults have tested positive for COVID-19 is
 27
      unknown, however, because many notices simply identify the COVID-19 positive
      individual as a “new resident,” and do not indicate whether that individual is a child
 28   or an adult.

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  1   saturation testing is needed and required under CDC guidelines—and is even
  2
      suggested by ICE’s own guidelines.10 The JC report fails to clarify testing procedures
  3

  4   at each facility, one of the basics this Court has repeatedly requested information

  5   about.
  6
               Furthermore, Amici wish to confirm ICE’s current and future plan regarding
  7

  8   room allocation and placement at each FRC. ICE has previously reported that all
  9   families detained at FRCs are placed in their own individual room. July 2020 ICE
 10
      JC Report at 6 [Doc. # 882-1]. Amici asked the government to confirm whether ICE
 11

 12   has or intends to change its placement procedures by increasing the number of
 13   families placed in each room. This question was premised upon (1) the ICE JC’s
 14
      failure to mention any information regarding room distribution in her interim report,
 15

 16   and (2) statements made by individuals who are detained at Dilley that more families
 17   are arriving and could be required to cohabit in the future. Government counsel did
 18
      not respond to this question, and instead responded, “Please provide specific facts (as
 19

 20
      10
        The ERO COVID-19 Pandemic Response Requirements included in the JC Report
 21
      supports more rigorous testing: “Testing is recommended for all close contacts of
 22   persons with SARS-CoV-2 infection. In some settings, broader testing, beyond close
 23
      contacts, is recommended as a part of a strategy to control transmission of SARS-
      CoV-2. Expanded testing might include testing of individuals on the same unit or
 24   shift as someone with SARS-CoV-2 infection, or even testing all individuals within
 25
      a shared setting (e.g., facility-wide testing).” JC Report, Attachment B (emphasis
      added) [Doc. # 932-1]. See also Centers for Disease Control and Prevention, Testing
 26   Guidelines for Nursing Homes, https://www.cdc.gov/coronavirus/2019-
 27
      ncov/hcp/nursing-homes-testing.html (last updated July 21, 2020) (recommending
      “expended viral testing of all residents in the nursing home if there is an outbreak in
 28   the facility”).

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  1   opposed to rumors) about which you are requesting a response.”
  2
      V.    Conclusion
  3

  4         Once again, the Government has presented the Court with a JC report that is

  5   incomplete, inaccurate, and fails to provide the Court with the information it has
  6
      requested. The information in the JC Report makes clear that the Government
  7

  8   continues to renege on its obligations under the Agreement and this Court’s orders,
  9   and that it has moved slowly—if at all—towards promptly releasing Class Members
 10
      and protecting them from the COVID-19 outbreak within the FRCs.
 11

 12   DATED: August 28, 2020                 NELSON & FRAENKEL LLP
 13                                          /s/ Gabriel S. Barenfeld
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